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filed a letter that the Court construed as a request for service of process by the Marshals.
(Order, Docket No. 16). The Court granted the request. (Id.).
      Service of process was effectuated, and proofs of service filed, (Docket Nos.
19−22), but Defendants failed to respond to the FAC. Plaintiff took no action with
respect to Defendants’ failure to respond. The Court accordingly issued an Order to
Show Cause regarding lack of prosecution. (Order, Docket No. 25). Plaintiff, apparently
under the mistaken impression that the Order to Show Cause indicated that the FAC had
not yet been served (it had), filed motion requesting service of the FAC. (Motion, Docket
No. 27; see also Response, Docket No. 26 at 1−2 (Plaintiff writing that he “ha[d] not
heard anything more on this case, so he [was] under the assumption that service has not
yet been effectuated.”)). The Court struck the motion requesting service of the FAC
because it was procedurally improper. (Order, Docket No. 30 at 3). The Court also
continued the Order to Show Cause regarding Lack of Prosecution to June 20, 2024.
(Id.). Specifically, the Court ordered the Plaintiff to “show cause in writing no later than
June 20, 2024, why this action should not be dismissed for lack of prosecution.” (Id. at
3−4 (noting that Plaintiff had electronic access to the Court’s CM/ECF system such that
his claim that he had not “hear[d] anything” about the case was unpersuasive)). Plaintiff
failed to respond in any fashion.
      II.    DISCUSSION
      Plaintiff’s failure to comply with this Court’s Order to Show Cause and the
applicable rules warrants dismissal for lack of prosecution. When dismissing an action
for lack of prosecution, the Court must consider: “(1) the public’s interest in expeditious
resolution of litigation; (2) the court’s need to manage its docket; (3) the risk of prejudice
to the defendants; (4) the public policy favoring disposition of cases on their merits[;] and
(5) the availability of less drastic sanctions.” Carey v. King, 856 F.2d 1439, 1440 (9th


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      Cir. 1988) (per curiam) (internal quotation omitted).
              In this case, as in all cases, the first factor favors dismissal. See Yourish v. Cal.
      Amplifier, 191 F.3d 983, 990 (9th Cir. 1999) (“[T]he public’s interest in expeditious
      resolution of litigation always favors dismissal.”). The second factor—the need for
      docket management—also favors dismissal. See, e.g., Edwards v. Marin Park, Inc., 256
      F.3d 1058, 1065 (9th Cir. 2004) (noting that cases sitting “idly on the court’s docket”
      consume resources). Regarding the third factor, defendants are also presumptively
      prejudiced by Plaintiff’s unexplained failure to prosecute this action. See Malone v. U.S.
      Postal Serv., 833 F.2d 128, 131 (9th Cir. 1987) (“Whether prejudice is sufficient to
      support an order of dismissal is judged in part with reference to the strength of the
      plaintiff’s excuse….”); (see Response, Docket No. 26 at 1−2 (Plaintiff writing that he
      “ha[d] not heard anything more on this case, so he [was] under the assumption that
      service has not yet been effectuated.”); but see Order, Docket No. 24 (granting Plaintiff
      access to electronic filing)). Fourth, the “public policy favoring disposition of cases on
      their merits” always weighs against dismissal for lack of prosecution, but that factor can
      be outweighed. See, e.g., Malone, 833 F.3d at 133 n.2. Fifth, the Court finds that no
      sanction short of dismissal is feasible given that the Court has given Plaintiff multiple
      chances to comply with this Court’s Order to Show Cause and he still has failed to do so,
      without explanation. (See Order, Docket No. 25; Order Docket No. 30).
              III.   CONCLUSION
              For the foregoing reasons, the action is DISMISSED.


              IT IS SO ORDERED.




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